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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION

IN RE:                                       )               CHAPTER 13
                                             )
Aneesa Ayanna Jordan El,                     )               CASE NO 18-52287 JRS
                                             )
                                             )
                                             )               JUDGE SACCA
                                             )
                                             )
         Debtor                              )


                                 CERTIFICATE OF SERVICE

        I hereby certify that I am more than 18 years of age and that I have this day served a copy
of the within Amended Schedules upon the following by depositing a copy of the same in U.S.
Mail with sufficient postage affixed thereon to ensure delivery:

                                            Debtor
                                    Aneesa Ayanna Jordan El
                                     3375 Spring Hill Pkwy.
                                       Smyrna GA 30080

                           (Please see attached for additional Served)


I further certify that, by agreement of parties, Nancy J. Whaley, Standing Chapter 13

Trustee, was served via ECF.

This 4th day of February 2019

                                                                                               /s/
                                                                             M. Chase McCallum.
                                                                          Georgia Bar No. 173048
                                                                      The Semrad Law Firm, LLC
                                                                                  Sterling Point II
                                                                       303 Perimeter Center North
                                                                                         Suite 201
                                                                           Atlanta, Georgia 30346
                                                                         Attorney for the Debtor
Label Matrix for Case    18-52287-jrs
                  local noticing        Doc 33BLMDSNB
                                                   Filed 02/04/19 Entered 02/04/19 11:20:44      Desc
                                                                                    CAVALRY PORTFOLIO SERVMain
113E-1                                            Document
                                              9111 DUKE BLVD    Page 34 of 35       4050 E COTTON CENTER BLV
Case 18-52287-jrs                             MASON, OH 45040-8999                       PHOENIX, AZ 85040-8862
Northern District of Georgia
Atlanta
Mon Feb 4 11:14:19 EST 2019
Cavalry SPV I, LLC                            DEPT OF ED/NAVIENT                         Danco Financial
500 Summit Lake Drive, Ste 400                PO BOX 9635                                4280 Atlanta Rd SE
Valhalla, NY 10595-2321                       WILKES BARRE, PA 18773-9635                Smyrna, GA 30080-6433



Danco Financial Services, LLC                 Danco Financial Services, LLC.             Department of Justice, Tax Division
Dunlap Gardiner LLP                           4280 Atlanta Road SE                       75 Spring Street SW
5604 Wendy Bagwell Pkwy, Ste 923              Smyrna, GA 30080-6433                      Civil Trial Section, Southern
Hiram, GA 30141-7819                                                                     Atlanta, GA 30303-3315


Wesley C. Dunlap                              (p)GEORGIA DEPARTMENT OF REVENUE           Michael Andrew Graves
Dunlap Gardiner, LLP                          COMPLIANCE DIVISION                        The Semrad Law Firm, LLC
Suite 923                                     ARCS BANKRUPTCY                            Suite 201
5604 Wendy Bagwell Parkway                    1800 CENTURY BLVD NE SUITE 9100            303 Perimeter Center N
Hiram, GA 30141-7819                          ATLANTA GA 30345-3202                      Atlanta, GA 30346-3425

Internal Revenue Service                      Internal Revenue Service - Atl             Aneesa Ayanna Jordan El
PO Box 7346                                   401 W Peachtree St NW M/S 334D             3375 Spring Hill Pkwy Se Apt 339
Philadelphia, PA 19101-7346                   Atlanta, GA 30308                          Smyrna, GA 30080-6807



MCYDSNB                                       Michael John Chase McCallum                NAVY FEDERAL CR UNION
3911 S Walton Walker Blvd                     The Semrad Firm, LLC                       820 FOLLIN LANE
Dallas, TX 75236-1509                         Suite 201                                  VIENNA, VA 22180-4907
                                              303 Perimeter Center North
                                              Atlanta, GA 30346-3425

NAVY FEDERAL CREDIT UNION                     NETCOLLCTION                               NPRTO Georgia, LLC
PO BOX 3000                                   2774 N COBB PARKWA SUITE 109 # 181         256 West Data Drive
MERRIFIELD VA 22119-3000                      KENNESAW, GA 30152-3469                    Draper, UT 84020-2315



Navient Solutions, LLC. on behalf of          Office of the Attorney General - Atlanta   Office of the United States Trustee
Department of Education Loan Services         40 Capitol Sq Sw                           362 Richard Russell Building
PO BOX 9635                                   Attn: Karrollanne K. Cayce                 75 Ted Turner Drive, SW
Wilkes-Barre, PA 18773-9635                   Atlanta, GA 30334-9057                     Atlanta, GA 30303-3315


Office of the United States Trustee           Tamara Miles Ogier                         PORTFOLIO RECOV ASSOC
75 Ted Turner Dr Sw                           Ogier, Rothschild & Rosenfeld PC           PO Box 41067
Atlanta, GA 30303-3315                        P. O. Box 1547                             Norfolk, VA 23541-1067
                                              Decatur, GA 30031-1547


PRA Receivables Management, LLC               (p)PORTFOLIO RECOVERY ASSOCIATES LLC       Post Spring
PO Box 41021                                  PO BOX 41067                               3375 Spring Hill Pkwy SE
Norfolk, VA 23541-1021                        NORFOLK VA 23541-1067                      Smyrna, GA 30080-6807
                Case 18-52287-jrs
Progressive Leasing                         Doc 33RECEIVABLE
                                                       FiledRECOVERY
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256 West Data Drive                                   Document
                                                  110 VETERANS BLVD     Page 35 of 35        510 MOUNTAIN VIEW DR SUITE 500
Draper, UT 84020-2315                                METAIRIE, LA 70005-3027                              SENECA, SC 29672-2145



SYNCB/OLD NAVY                                       Special Assistant U.S. Attorney                      Synchrony Bank
Po Box 530942                                        401 W. Peachtree Street, NW, STOP 1000-D             c/o PRA Receivables Management, LLC
Atlanta, GA 30353-0942                               Atlanta, GA 30308                                    PO Box 41021
                                                                                                          Norfolk, VA 23541-1021


U. S. Attorney                                       Wellstar Health System, Inc
600 Richard B. Russell Bldg.                         1170 Cleveland Ave
75 Ted Turner Drive, SW                              Atlanta, GA 30344-3615
Atlanta GA 30303-3315




                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Georgia Department of Revenue                        Portfolio Recovery Associates, LLC
1800 Century Boulevard                               POB 41067
c/o T Truong                                         Norfolk VA 23541
Atlanta, GA 30345




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)Danco Financial Services, LLC                     End of Label Matrix
                                                     Mailable recipients    37
                                                     Bypassed recipients     1
                                                     Total                  38
